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  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA

GUIDECRAFT, INC.,                       )      Case No.:2:18-cv-01247-LPL
                                 )
vs.                              )
                                 )
OJCOMMERCE, LLC, et. al.         )


 ORDER GRANTING DEVIN FREEDMAN’S MOTION FOR ADMISSION PRO HAC
                 VICE ON BEHALF OF DEFENDANTS

      Having considered DEVIN FREEDMAN’S MOTION FOR ADMISSION PRO HAC

VICE ON BEHALF OF DEFENDANTS, this Court hereby rules as follows:


      DEVIN FREEDMAN’S MOTION FOR ADMISSION PRO HAC VICE ON BEHALF

OF DEFENDANTS is ​GRANTED​.


      SO ORDERED.



      Dated: This ____ day of _________, ______.
                                                     ______________________________
                                                     Honorable Lisa Pupo Lenihan
                                                     Magistrate Judge




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